          Case 2:17-cv-01420-GMS Document 43 Filed 12/08/17 Page 1 of 1



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8   Bhavika Patel,                                     No. CV-17-01420-PHX-GMS
 9
                    Plaintiff,                          ORDER
10
     v.
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     Itria Ventures LLC, et al.,
12
                    Defendants.
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15            Pending before the Court is the Stipulation and Motion filed by Plaintiff Bhavika
16   Patel and Defendant Trans Union, LLC (Doc. 42), pursuant to Fed. R. Civ. P.
17   41(a)(1)(A)(ii), and good cause appearing,
18            IT IS ORDERED that the Stipulation and Motion (Doc. 42) is hereby
19   GRANTED and this action is DISMISSED, with each party to bear its own attorneys’
20   fees and costs.
21            Dated this 8th day of December, 2017.
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23                               Honorable G. Murray Snow
                                 United States District Judge
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